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A0247(10/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                                Page I of 2 (Page 2 Not for Public Disclosure)



                                                               UNITED STATES DISTRICT COURT
                                                                                     for the                                                 FILED
                                                                                                                                      U.S. DISTRICT COURT
                                                          Southern District of Georgia - Waycross Division                               SAVANNAH DIV.
                       United States of America                                        )                                                       JUN 8 1015
                                        V.                                             )
                                                                                         Case No: 5:12-CR-000I8-2
                             Shannon D. Brown                                          )



                                                                                       ) USMNo: 17815-021                         CLERK        W
                                                                                                                                       COOI , TO1 GA
Date of Original Judgment:         January 6, 2014                                     ) Marc G. Metts
Date of Previous Amended Judgment: N/A                                                 ) Defendant's Attorney
(Use Date of Last Amended Judgment, if any)


                                          Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


         Upon motion of Ithe defendant           the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § IB1. 10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
EI1 DENIED.           jJ
             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
              issued) of       months is reduced to


                                                   (Complete Parts I and!! of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated                          January 6, 2014,    shall remain in effect.
IT IS SO ORDERED.

Order Date:            ____________
                                                                                                              Judge's Afnature


                                                                                           William T. Moore, Jr.
                                                                                           Judge, U.S. District Court
Effective Date: November 1, 2015                                                           Southern District of Georgia
                         (if dfferent from order date)                                                      Printed name and title
